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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

ANGEL MARTINEZ,                                  *
aka THOMAS ALVEREZ,                              *
                                                 *
                    Petitioner,                  *
                                                 *             No. 4:07cr00127 SWW
vs.                                              *             (No. 4:10cv0017 SWW)
                                                 *
                                                 *
                                                 *
UNITED STATES OF AMERICA,                        *
                                                 *
                    Respondent.                  *

                                  MEMORANDUM AND ORDER

       Before the Court is a pro se 28 U.S.C. § 2255 motion [doc.#551] of petitioner Angel

Martinez aka Thomas Alvarez to vacate, set aside, or correct his sentence. The government has

responded in opposition to petitioner’s motion. The Court held a limited evidentiary hearing on

petitioner’s motion on the afternoon of September 9, 2010. For the reasons that follow, the

Court finds that petitioner’s § 2255 motion should be and hereby is denied.

                                                 I.

       Petitioner was charged in a Fourth Superceding Indictment with conspiracy to distribute

methamphetamine (Count 1) and the use of a telephone to facilitate distribution of

methamphetamine (Count 2). Petitioner was initially represented by attorney Stuart Vess. On

February 19, 2008, Vess filed a motion to withdraw, stating inter alia that he entered into plea

negotiations with the government and obtained what he considered to be a viable plea

agreement. Vess stated he discussed the matter with petitioner who gave him the impression that

he was interested in pursuing the plea agreement but that at the last minute, petitioner rejected

the plea agreement and formed the opinion that counsel was not acting in his best interest. Vess
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stated that at that point, he was unable to communicate with petitioner and that the working

relation with petitioner deteriorated to the point that it was impossible for him to provide

petitioner with effective representation. Vess stated that petitioner expressed to the Court his

unhappiness with counsel’s representation and despite indicating that he would rather proceed

pro se, requested that Vess seek substitution of counsel. Vess requested that he be immediately

relieved of his duties and obligations to petitioner, which this Court granted on February 28,

2008 [doc.#325]. Thereafter, by Order entered March 12, 2008 [doc.#328], the Court appointed

Leslie Ablondi as petitioner’s counsel.

          On August 12, 2008, petitioner pled guilty to Count 1 of the Fourth Superseding

Indictment and Count 2 was dismissed on motion of the government. On January 7, 2009,

petitioner was sentenced to 168 months imprisonment followed by five years of supervised

release. Judgment was entered on January 15, 2009 [doc.#513]. Petitioner did not appeal his

sentence.

          On January 11, 2010, petitioner filed his pro se § 2255 motion asserting the following

grounds for relief: (1) counsel’s assistance was ineffective for failing to file a notice of appeal;

(2) counsel’s assistance was ineffective for failing to investigate; and (3) counsel’s assistance

was ineffective for promising petitioner he would receive a 10 year sentence if he pleaded guilty

and would receive the safety-valve relief1 and minor role.

          Because the record was inconclusive as to whether petitioner instructed counsel to file a

notice of appeal, the Court appointed attorney James H. Phillips to represent petitioner and held

an evidentiary hearing on that issue. See Doutt v. United States, 77 Fed.Appx. 919 (8th Cir.

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          Safety-valve relief allows a district court to disregard an applicable statutory minimum if certain requirements are
met. United States v. Bonilla-Filomeno, 579 F.3d 852, 858 (8th Cir. 2009) (citing 18 U.S.C. § 3553(f)).

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2003) (evidentiary hearing required where the record is inconclusive as to whether petitioner

instructed his counsel to file a notice of appeal). However, because the record conclusively

shows that petitioner is not entitled to relief on his remaining claims, the Court decides those

remaining claims without conducting an evidentiary hearing. See Buster v. United States, 447

F.3d 1130, 1132 (8th Cir. 2006) (holding that a § 2255 motion can be dismissed without a hearing

if (1) the petitioner’s allegations, accepted as true, would not entitle the petitioner to relief, or (2)

the allegations cannot be accepted as true because they are contradicted by the record, inherently

incredible, or conclusions rather than statements of fact).2

                                                                  II.

                                                                  A.

          “A defendant who claims that he received ineffective assistance of trial counsel has the

burden to show both that counsel’s performance was deficient – i.e., that ‘the identified acts or

omissions were outside the wide range of professionally competent assistance’ despite the

‘strong presumption that counsel’s conduct falls within the wide range of reasonable professional

assistance’ – and that the defendant suffered prejudice – i.e., ‘that there is a reasonable

probability that, but for counsel’s unprofessional errors, the result of the proceeding would have

been different.” Sanders v United States, 341 F.3d 720, 721-22 (8th Cir. 2003) (quoting

Strickland v. Washington, 466 U.S. 668, 689-90, 694 (1984)). In the context of a guilty plea,


          2
             Petitioner’s appointed counsel for the § 2255 evidentiary hearing previously filed a motion to clarify issues
[doc.#572], stating inter alia that confusion had arisen between counsel and petitioner as to the issues to be resolved by this
Court at the hearing and that counsel was of a mind that the only issue to be resolved at the hearing was related to allegations
made by petitioner that he had not been afforded an opportunity to appeal his case. By Order dated June 28, 2010 [doc.#575],
the Court granted counsel’s motion for clarification and informed the parties that the only claim to be addressed at the
evidentiary hearing will be petitioner’s first claim for relief, i.e., that counsel’s assistance was ineffective for failing to file a
notice of appeal, and that petitioner’s remaining claims – that counsel’s assistance was ineffective for failing to investigate and
for promising petitioner he would receive a 10 year sentence if he pleaded guilty and promising he would receive the safety-
valve relief and minor role – would be resolved on the basis of the record as it now stands.

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petitioner needs to show there is a reasonable probability that, but for counsel’s errors, he would

not have pleaded guilty and would have insisted on going to trial. United States v. Wilson, 114

Fed.Appx. 770 (8th Cir. 2004) (citing Hill v. Lockhart, 474 U.S. 52, 59 (1985)). Petitioner also

needs to overcome “strong presumptions” of counsel’s competence and the voluntariness of his

guilty plea based on his representations during the plea colloquy. Id. (citing Ramey v. United

States, 8 F.3d 1313, 1314 (8th Cir. 1993) (per curiam)).

                                                                B.

                                                                 1.

          The Court first turns to petitioner’s claims that counsel was ineffective for failing to file a

notice of appeal. A counsel’s failure to file a notice of appeal when so instructed by the client

constitutes ineffective assistance of counsel for purposes of § 2255. Doutt, 77 Fed.Appx. 919.

          As stated from the bench at the conclusion of the evidentiary hearing, the Court finds that

petitioner understood at the time of the time he entered his plea that the sentencing range was a

minimum of 10 ten years, but that depending on the quantity of the drugs, it could go beyond

that and could be as long as life. At petitioner’s sentencing on January 7, 2009, the Court recited

on the record the guideline range, noting that the custody range for petitioner under the

guidelines was 188 to 235 months imprisonment, and over objections of the government, granted

counsel’s request to depart below the guideline range and sentenced petitioner to 168 months to

reflect a sentence comparable to those of his co-defendants.3 The Court specifically informed



          3
            On this point, then, petitioner, far from receiving ineffective assistance of counsel, received highly effective
assistance of counsel. The Court notes that petitioner could hardly have expected a 10 year sentence as petitioner does not
dispute that prior to his guilty plea, while represented by Vess, he attempted to plead guilty by insisting on a 10 year sentence
(perhaps based on bad advice from fellow prisoners) but that the Court did not accept his guilty plea that first time as the Court
would not bargain with petitioner and make him any promises, as the Court made clear during the sentencing hearing.

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petitioner that he had the right to appeal, that with few exceptions any notice of appeal must be

filed within ten days of judgment being entered, that he has the right to an attorney and to have

notice of appeal filed, that if he could not pay the cost of an appeal he may apply for leave to

appeal in forma pauperis, and that if he so requested the Clerk of Court would prepare and file

the notice of appeal on his behalf. See Fed.R.Crim.P. 32(j). Petitioner stated he understood what

the Court said about the right to appeal. The Court additionally asked counsel whether he would

discuss with petitioner his right to appeal, to which counsel replied he would, and file any notice

of appeal on his behalf or request the Court to do so.

       “Once counsel consults with a defendant about the right to appeal, his subsequent

performance is professionally unreasonable only if he fails ‘to follow the defendant’s express

instruction with respect to an appeal.’” Keys v. United States, 545 F.3d 644, 647 (8th Cir. 2008)

(quoting Roe v. Flores-Ortega, 528 U.S. 470, 478 (2000)). The Court finds credible the

testimony of Ablondi, who testified that he told petitioner – correctly, the Court notes – that he

had been fortunate in getting a sentence below the guidelines, and that his advice was not to

appeal as petitioner might ultimately end up with a higher sentence. Ablondi further testified that

petitioner was happy and agreed not to appeal. Indeed, petitioner testified that following

sentencing, he needed more time to consult his family members on his next course of action and

that he thought – erroneously – that he could have more than ten days to file a notice of appeal.

Petitioner’s testimony on whether he instructed counsel to file a notice of appeal was both vague

and unsubstantiated and the Court finds that petitioner has failed to carry his burden of proof by

a preponderance of the evidence that Ablondi did not file a notice of appeal when requested to

do so; there simply is nothing indicating that petitioner instructed counsel to file a notice of


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appeal or that counsel failed to follow petitioner’s instructions. Wilson, Fed.Appx. 770.

                                                 2.

       The Court additionally rejects petitioner’s argument that his counsel “failed to

investigate.” In both his plea agreement with the government and at his change of plea hearing

on August 12, 2008, petitioner stated he was satisfied with his counsel’s representation.

Petitioner does not specify the circumstances of any failure to investigate or how he was

prejudiced thereby, and petitioner has not overcome the “strong presumptions” of counsel’s

competence and the voluntariness of his guilty plea based on his representations during the plea

colloquy. Wilson, 114 Fed.Appx. 770. Cf. United States v. Hughes, 16 F.3d 949, 951 (8th Cir.

1994) (per curiam) (defendant who testified at plea hearing that he was satisfied with counsel's

representation could not claim plea was involuntary due to counsel's failure to investigate case).

                                                 3.

       Finally, the Court rejects petitioner’s claim that counsel’s assistance was ineffective for

promising petitioner he would receive a 10 year sentence if he pleaded guilty and that he would

receive the safety-valve relief and minor role. This claim is without merit as petitioner agreed in

his plea agreement with the government that he understood that the determination of the

applicability of the guidelines and of the appropriate sentence would be made by the Court and

that he was aware that “any estimate of the probable sentencing range under the Sentencing

Guidelines that the defendant may have received from the defendant’s counsel ... is merely a

prediction, not a promise, and is not binding on the ... Court.” Petitioner further acknowledged

that he “consulted with his attorney and fully understands his rights with respect to the

provisions of the United States Sentencing Guidelines which may apply to this case,” and that


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“[n]o other promises or inducements have been made to the defendant, other than those expressly

contained in [the plea] Agreement.” Petitioner simply has not overcome the “strong

presumptions” of counsel’s competence and the voluntariness of his guilty plea based on his

representations in the plea agreement that no promises other than those contained in the plea

agreement were made. Wilson, 114 Fed.Appx. 770.4

                                                                III.

         In sum, the Court finds that petitioner fails to identify any acts or omissions of counsel

that were outside the wide range of professionally competent assistance.5

         IT IS THEREFORE ORDERED that petitioner’s 28 U.S.C. § 2255 motion to vacate, set

aside, or correct his sentence be and it hereby is denied.



                               Dated this 14th day of September 2010.

                                                             /s/Susan Webber Wright

                                                             UNITED STATES DISTRICT JUDGE




         4
             For reasons stated previously, any expectation of petitioner for a 10 year sentence was baseless.

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           In denying petitioner’s § 2255 motion, the Court notes that petitioner’s appointed counsel for the § 2255 evidentiary
hearing, James H. Phillips, presented as good a case for petitioner as could reasonably be expected.

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